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                       IN THE UNITED STATES DISTRICT COURT j                         F£8 2 2 2"
                       FOR THE EASTERN DISTRICT OF VIRGINIA1
                                    RICHMOND DIVISION                                          :. wit M-wifvi^




UNITED STATES OF AMERICA,



v.                                                       CASE NO. 3:09CR00418-001


JOSEPH R. ROACH,
                       Defendant.



          REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE


        This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(l)(B) and (b)(3) upon

 the Defendant's request to enter a pleas of guilty pursuant to Fed. R. Crim. P. 11 and a written

 plea agreement that has been entered into by the United States and the Defendant. The matter

 was presented to the court upon the written consent of the Defendant and counsel for the

 Defendant to proceed before a United States Magistrate Judge, said consent including the


 Defendant's understanding that he consented to not only having the Magistrate Judge conduct the

 hearing and enter any order of forfeiture, if applicable, but also to having the Magistrate Judge


 make necessary findings and accepting any guilty plea as may be entered that could not be

 withdrawn except for fair and just reason.


          The Defendant pled guilty to Counts One, Three and Nine of the Superseding Indictment

 in open court and pursuant to a Rule 11 inquiry. Upon consideration of the responses and


 statements made by the Defendant under oath, on the record, and based upon the written plea

 agreement and statement of facts presented, the court makes the following findings:


         1.     That the Defendant is competent to enter a plea of guilty;


         2.     That the Defendant understands the nature of the charges against him to which his
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            pleas are offered;


      3.    That the Defendant understands what the maximum possible penalties are upon

            conviction of the offenses charged, including any mandatory minimum periods of

            confinement, the effect of any required term of supervised release, the loss of

            various civil rights (if applicable, including the right to vote, the right to hold

            public office, the right to own and possess a firearm), the possibility of adverse

            immigration consequences (if applicable), the required imposition of a special

            assessment, forfeiture of real and/or personal property (if applicable), and


            restitution (if applicable);


      4.    That the sentencing court has jurisdiction and authority to impose any sentence


            within the statutory maximums provided, that the court can reject any agreement

            by the parties as to drug quantity or sentencing factors, and that the court will

            determine the defendant's actual sentence in accordance with 18 U.S.C. § 3553(a)


            and that the court, after considering the factors set forth in 18 U.S.C. § 3553(a),

            may impose a sentence above or below the advisory sentencing range, subject


            only to review by higher courts for reasonableness;


      5.    That the Defendant understands his right to persist in a plea of not guilty and


            require that the matter proceed to trial with all the rights and privileges attending a

            trial, including, but not limited to: the right to effective assistance of counsel; the

            right to use the power and processes of the court to compel evidence on the

            Defendant's behalf; the right to confront and cross-examine adverse witnesses; the

            right to present relevant evidence; the right to remain silent; and the right to trial

            by jury;
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        6.     That the Defendant understands that he is waiving any right to appeal whatever


               sentence is imposed by pleading guilty, even if the sentence is erroneous, as long


               as said sentence does not exceed the total statutory penalties provided;

        7.     That the Defendant understands all provisions of the written plea agreement

               which was reviewed in essential part with the Defendant during the proceeding;


        8.     That the pleas of guilty entered by the Defendant were knowingly and voluntarily


               entered and is not the result of force or intimidation of any kind; nor is it the result


                of any promises other than the representations set forth in the plea agreement; and

        9.      That the pleas of guilty entered by the Defendant were knowingly and voluntarily


                made with full knowledge of the consequences and with an independent basis in


                fact to support said pleas.


        Accordingly, the court accepted the Defendant's pleas of guilty to Counts One, Three


 and Nine of the Superseding Indictment and entered judgment of guilt on the subject charges. It


 is therefore the recommendation of this court that its findings, including the acceptance of the


 Defendant's pleas of guilty and resulting judgment of guilt, be adopted.




                                                            /s/
                                                     M. Hannah Lauck
                                                     United States Magistrate Judge


 Dated: February 22,2010
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                                           NOTICE


        The Defendant is advised that he/she may file specific written objection to this

report and recommendation with the court within fourteen (14) days of this date. If


objection is noted, the party objecting must promptly arrange for the transcription of the

relevant record and file it forthwith with the court for its use in any review. Failure to


 object in accordance with this notice, including the requirement for preparation of a

 transcription of the relevant portions of the record, will constitute a waiver of any right to

 de novo review of the matter and may result in adoption of the recommendation, including


 the finding of guilt as entered by the magistrate judge.
